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                                  6                              UNITED STATES DISTRICT COURT

                                  7                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                  8   JULISSA COTA, individually and on behalf CASE NO.: '20CV2003 JLS BLM
                                      of all others similarly situated,
                                  9
                                                                                     CLASS ACTION COMPLAINT
                                                              Plaintiff,
                                 10                                              1. VIOLATIONS OF THE AMERICANS
                                               v.                                    WITH DISABILITIES ACT OF 1990, 42
                                 11                                                  U.S.C. §12181
                                 12                                              2. VIOLATIONS OF THE UNRUH CIVIL
                                      DZINE, INC., a California corporation; and     RIGHTS ACT
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                                 13   DOES 1 to 10, inclusive,                       DEMAND FOR JURY TRIAL

                                 14                           Defendants.
                                 15
                                 16          Plaintiff Julissa Cota(“Plaintiff”), individually and on behalf of all others similarly
                                 17   situated, brings this action based upon personal knowledge as to herself and her own acts, and as
                                 18   to all other matters upon information and belief, based upon, inter alia, the investigations of her

                                 19   attorneys.

                                 20                                     NATURE OF THE ACTION
                                 21          1.      Plaintiff is a visually-impaired and legally blind person who requires screen-
                                 22   reading software to read website content using her computer. Plaintiff uses the terms “blind” or
                                 23   “visually-impaired” to refer to all people with visual impairments who meet the legal definition
                                 24   of blindness in that they have a visual acuity with correction of less than or equal to 20 x 200.

                                 25   Some blind people who meet this definition have limited vision. Others have no vision.

                                 26          2.      Plaintiff, individually and on behalf of those similarly situated persons (hereafter

                                 27   “Class Members”), brings this Class Action to secure redress against Defendant DZINE, Inc.

                                 28   (“Defendant”) and DOES 1-10, for its failure to design, construct, maintain, and operate its

                                                                                       1
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                                  1   website to be fully and equally accessible to and independently usable by Plaintiff and other blind

                                  2   or visually-impaired people. Defendant’s denial of full and equal access to its website, and

                                  3   therefore denial of its products and services offered thereby and in conjunction with its physical

                                  4   locations, is a violation of Plaintiff’s rights under the Americans with Disabilities Act (“ADA”)

                                  5   and California’s Unruh Civil Rights Act (“UCRA”).

                                  6          3.      Because Defendant’s website, https://www.dzineliving.com/, (the “Website” or
                                      “Defendant’s website”), is not fully or equally accessible to blind and visually-impaired
                                  7
                                      consumers in violation of the ADA, Plaintiff seeks a permanent injunction to cause a change in
                                  8
                                      Defendant’s corporate policies, practices, and procedures so that Defendant’s website will
                                  9
                                      become and remain accessible to blind and visually-impaired consumers.
                                 10
                                                                               THE PARTIES
                                 11
                                             4.      Plaintiff, at all times relevant and as alleged herein, is a resident of the County of
                                 12
                                      San Diego. Plaintiff is a legally blind, visually-impaired handicapped person, a member of a
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                                 13
                                      protected class of individuals under the ADA pursuant to 42 U.S.C. § 12102(1)-(2), and the
                                 14
                                      regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.
                                 15
                                             5.      Defendant is a California corporation, with its headquarters in San Francisco,
                                 16
                                      California. Defendant’s servers for the website are in the United States. Defendant conducts a
                                 17   large amount of its business in California. The store constitutes a place of public accommodation.
                                 18   Defendant’s showroom provides to the public important goods and services. Defendant’s website
                                 19   provides consumers with access to a wide variety of carefully curated furniture, art, and
                                 20   accessories which are available online and in store for purchase. Consumers can also access
                                 21   information about showroom location and hours, appointments, interior architecture, staging,
                                 22   various brands and manufacturers, shipping information, pricing, events, projects, DZINE Trade
                                 23   Program, and store terms and conditions.
                                 24          6.      Plaintiff is unaware of the true names, identities, and capacities of each Defendant

                                 25   sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this complaint to allege the true

                                 26   names and capacities of DOES 1 to 10 if and when ascertained. Plaintiff is informed and believes,

                                 27   and thereupon alleges, that each Defendant sued herein as a DOE is legally responsible in some

                                 28
                                                                                       2
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                                  1   manner for the events and happenings alleged herein and that each Defendant sued herein as a

                                  2   DOE proximately caused injuries and damages to Plaintiff as set forth below.

                                  3          7.      Defendant’s store is a public accommodation within the definition of Title III of

                                  4   the ADA, 42 U.S.C. § 12181(7).

                                  5          8.      The Website, https://www.dzineliving.com/, is a service, privilege, or advantage

                                  6   of Defendant’s services, products, and locations.
                                                                      JURISDICTION AND VENUE
                                  7
                                             9.      This Court has subject matter jurisdiction over the state law claims alleged in this
                                  8
                                      Complaint pursuant to the Class Action Fairness Act, 28 U.S.C. §1332(d)(2)(A) because: (a) the
                                  9
                                      matter in controversy exceeds the sum of $5 million, exclusive of interest and costs; and (b) some
                                 10
                                      of the class members are citizens of a state (California).
                                 11
                                             10.     Defendant is subject to personal jurisdiction in this District. Defendant has been
                                 12
                                      and continues to commit the acts or omissions alleged herein in the Southern District of
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                                 13
                                      California, which, has caused injury and violated rights prescribed by the ADA and UCRA to
                                 14
                                      Plaintiff, other blind, and other visually impaired-consumers. A substantial part of the acts and
                                 15
                                      omissions giving rise to Plaintiff’s claims occurred in the Southern District of California.
                                 16
                                      Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment
                                 17   of the facilities, goods, and services of Defendant’s website in San Diego County. The access
                                 18   barriers Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s full
                                 19   and equal access multiple times in the past and now deter Plaintiff on a regular basis from
                                 20   accessing Defendant’s website. Similarly, the access barriers Plaintiff has encountered on
                                 21   Defendant’s website have impeded Plaintiff’s full and equal enjoyment of goods and services
                                 22   offered at Defendant’s brick-and-mortar store.
                                 23          11.     This Court also has subject-matter jurisdiction over this action pursuant to 28
                                 24   U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

                                 25   U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

                                 26          12.     This Court has personal jurisdiction over Defendant because it conducts and

                                 27   continues to conduct a substantial and significant amount of business in the State of California,

                                 28   County of San Diego, and because Defendant's offending website is available across California.

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                                  1            13.        Venue is proper in the Southern District of California pursuant to 28 U.S.C. §1391

                                  2   because Plaintiff resides in this District, Defendant conducts and continues to conduct a

                                  3   substantial and significant amount of business in this District, Defendant is subject to personal

                                  4   jurisdiction in this District, and a substantial portion of the conduct complained of herein occurred

                                  5   in this District.

                                  6             THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                               14.        The Internet has become a significant source of information, a portal and a tool for
                                  7
                                      conducting business, doing everyday activities such as shopping, learning, banking, researching,
                                  8
                                      as well as many other activities for sighted, blind and visually-impaired persons alike.
                                  9
                                               15.        In today's tech-savvy world, blind and visually-impaired people have the ability to
                                 10
                                      access websites using keyboards in conjunction with screen access software that vocalizes the
                                 11
                                      visual information found on a computer screen. This technology is known as screen-reading
                                 12
                                      software. Screen-reading software is currently the only method a blind or visually-impaired
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                                 13
                                      person may independently access the internet. Unless websites are designed to be read by screen-
                                 14
                                      reading software, blind and visually-impaired persons are unable to fully access websites, and the
                                 15
                                      information, products and services contained thereon.
                                 16
                                               16.        Blind and visually-impaired users of Windows operating system-enabled
                                 17   computers and devices have several screen-reading software programs available to them. Some
                                 18   of these programs are available for purchase and other programs are available without the user
                                 19   having to purchase the program separately. Job Access With Speech, otherwise known as
                                 20   “JAWS,” is currently the most popular separately purchased and downloaded screen-reading
                                 21   software program available for a Windows computer.
                                 22            17.        For screen-reading software to function, the information on a website must be
                                 23   capable of being rendered into text. If the website content is not capable of being rendered into
                                 24   text, the blind or visually-impaired user is unable to access the same content available to sighted

                                 25   users.

                                 26            18.        The international website standards organization, the World Wide Web

                                 27   Consortium known throughout the world as W3C, has published Success Criteria for version 2.0

                                 28   of the Web Content Accessibility Guidelines ("WCAG 2.0" hereinafter). WCAG 2.0 are well-

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                                  1   established guidelines for making websites accessible to blind and visually-impaired people.

                                  2   These guidelines are adopted, implemented, and followed by most large business entities who

                                  3   want to ensure their websites are accessible to users of screen-reading software programs.

                                  4   Though WCAG 2.0 has not been formally adopted as the standard for making websites accessible,

                                  5   it is one of, if not the most, valuable resource for companies to operate, maintain, and provide a

                                  6   website that is accessible under the ADA to the public.
                                               19.   Within this context, the Ninth Circuit has recognized the viability of ADA claims
                                  7
                                      against commercial website owners/operators with regard to the accessibility of such websites.
                                  8
                                      Robles v. Domino’s Pizza, LLC, Docket No. 17-55504 (9th Cir. Apr 13, 2017), Court Docket No.
                                  9
                                      BL-66. This is in addition to the numerous courts that already recognized such application.
                                 10
                                               20.   Each of Defendant’s violations of the Americans with Disabilities Act is likewise
                                 11
                                      a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights Act provides that any
                                 12
                                      violation of the ADA constitutes a violation of the Unruh Civil Rights Act. Cal. Civ. Code, §
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                                 13
                                      51(f).
                                 14
                                               21.   Further, Defendant’s actions and inactions denied Plaintiff full and equal access to
                                 15
                                      their accommodations, facilities, and services. A substantial motivating reason for Defendant to
                                 16
                                      deny Plaintiff access was the perception of Plaintiff’s disability. Defendant’s denial of Plaintiff’s
                                 17   accessibility was a substantial motivating reason for Defendant’s conduct. Plaintiff was harmed
                                 18   due to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor in
                                 19   causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code, § 51.
                                 20            22.   Inaccessible or otherwise non-compliant websites pose significant access barriers
                                 21   to blind and visually-impaired persons. Common barriers encountered by blind and visually
                                 22   impaired persons include, but are not limited to, the following:
                                 23                  a. A text equivalent for every non-text element is not provided;
                                 24                  b. Title frames with text are not provided for identification and navigation;

                                 25                  c. Equivalent text is not provided when using scripts;

                                 26                  d. Forms with the same information and functionality as for sighted persons are

                                 27                      not provided;

                                 28                  e. Information about the meaning and structure of content is not conveyed by

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                                  1                     more than the visual presentation of content;

                                  2                 f. Text cannot be resized without assistive technology up to 200 percent without

                                  3                     loss of content or functionality;

                                  4                 g. If the content enforces a time limit, the user is not able to extend, adjust or

                                  5                     disable it;

                                  6                 h. Web pages do not have titles that describe the topic or purpose;
                                                    i. The purpose of each link cannot be determined from the link text alone or from
                                  7
                                                        the link text and its programmatically determined link context;
                                  8
                                                    j. One or more keyboard operable user interface lacks a mode of operation where
                                  9
                                                        the keyboard focus indicator is discernible;
                                 10
                                                    k. The default human language of each web page cannot be programmatically
                                 11
                                                        determined;
                                 12
                                                    l. When a component receives focus, it may initiate a change in context;
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                                 13
                                                    m. Changing the setting of a user interface component may automatically cause a
                                 14
                                                        change of context where the user has not been advised before using the
                                 15
                                                        component;
                                 16
                                                    n. Labels or instructions are not provided when content requires user input;
                                 17                 o. In content which is implemented by using markup languages, elements do not
                                 18                     have complete start and end tags, elements are not nested according to their
                                 19                     specifications, elements may contain duplicate attributes and/or any IDs are
                                 20                     not unique;
                                 21                 p. Inaccessible Portable Document Format (PDFs); and
                                 22                 q. The name and role of all User Interface elements cannot be programmatically
                                 23                     determined; items that can be set by the user cannot be programmatically set;
                                 24                     and/or notification of changes to these items is not available to user agents,

                                 25                     including assistive technology.

                                 26                                   FACTUAL BACKGROUND

                                 27          23.    Defendant offers the https://www.dzineliving.com/ website to the public. The

                                 28   website offers features which should allow all consumers to access the goods and services which

                                                                                      6
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                                  1   Defendant offers in connection with its physical locations. The goods and services offered by

                                  2   Defendant’s website include, but are not limited to the following, which allow consumers to

                                  3   access an assortment of carefully curated furniture including: furniture for the home, commercial

                                  4   furniture, kitchen furniture, bath furniture, closet furniture, and outdoor furniture such as such as

                                  5   chairs, couches, side tables, coffee tables, ottomans, patio chairs and tables, hammocks, and

                                  6   shelves. Defendant’s store and website also offers lighting, rugs, as well as a selection of unique,
                                      high-end art, accessories, and additional products and services which are available online and in
                                  7
                                      the showroom for purchase. Consumers can additionally access information about interior
                                  8
                                      architecture, staging, various brands and manufacturers, showroom location and hours, shipping
                                  9
                                      information, pricing, events, projects, DZINE Trade Program, and store terms and conditions.
                                 10
                                      Defendant also offers detailed space planning for free, including an initial design consultation and
                                 11
                                      two-dimensional architectural drawings.
                                 12
                                             24.     Based on information and belief, it is Defendant's policy and practice to deny
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                                 13
                                      Plaintiff and Class Members, along with other blind or visually-impaired users, access to
                                 14
                                      Defendant’s website and to therefore specifically deny the goods and services that are offered and
                                 15
                                      integrated with Defendant’s store. Due to Defendant's failure and refusal to remove access
                                 16
                                      barriers on its website, Plaintiff and other visually-impaired persons have been and are still being
                                 17   denied equal and full access to Defendant’s store and the assortment of luxury furniture, art,
                                 18   accessories, and additional products and services that are offered to the public through
                                 19   Defendant’s Website.
                                 20   Defendant’s Barriers on Unruh Civil Rights Act. Cal. Civ. Code, § 51(f) Deny Plaintiff and
                                 21                                        Class Members’ Access
                                 22          25.     Plaintiff is a visually-impaired and legally blind person, who cannot use a
                                 23   computer without the assistance of screen-reading software. However, Plaintiff is a proficient
                                 24   user of the JAWS screen-reader as well as Mac’s VoiceOver and both use it to access the internet.

                                 25   Plaintiff has visited https://www.dzineliving.com/ on several separate occasions using the JAWS

                                 26   and/or VoiceOver screen-readers.

                                 27          26.     During Plaintiff’s several visits to Defendant’s website, Plaintiff encountered

                                 28   multiple access barriers which denied Plaintiff full and equal access to the facilities, goods and

                                                                                        7
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                                  1   services offered to the public and made available to the public on Defendant’s website, and its

                                  2   prior iterations. Due to the widespread access barriers Plaintiff and Class Members encountered

                                  3   on Defendant’s websites, Plaintiff and Class Members have been deterred, on a regular basis,

                                  4   from accessing Defendant’s website. Similarly, the access barriers Plaintiff has encountered on

                                  5   Defendant’s website have deterred Plaintiff and Class Members from visiting Defendant’s brick-

                                  6   and-mortar store.
                                             27.     While attempting to navigate Defendant’s website, Plaintiff and Class Members
                                  7
                                      encountered multiple accessibility barriers for blind or visually-impaired people that include, but
                                  8
                                      are not limited to, the following:
                                  9
                                                     a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is invisible
                                 10
                                                          code embedded beneath a graphic or image on a website that is read to a user
                                 11
                                                          by a screen-reader. For graphics or images to be fully accessible for screen-
                                 12
                                                          reader users, it requires that alt-text be coded with each graphic or image so
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                                 13
                                                          that screen-reading software can speak the alt-text to describe the graphic or
                                 14
                                                          image where a sighted user would just see the graphic or image. Alt-text does
                                 15
                                                          not change the visual presentation, but instead a text box shows when the
                                 16
                                                          cursor hovers over the graphic or image. The lack of alt-text on graphics and
                                 17                       images prevents screen-readers from accurately vocalizing a description of the
                                 18                       image or graphic. As a result, Plaintiff and Class Members who are blind and
                                 19                       visually-impaired customers are unable to view the high-end collection of
                                 20                       furnishings, kitchens, bathrooms, lighting, rugs, art, and accessories available
                                 21                       online and in the showroom for purchase. Consumers are also unable to access
                                 22                       information about interior architecture, staging, various brands and
                                 23                       manufacturers, shipping information, events, pricing, projects, DZINE Trade
                                 24                       Program, and store terms and conditions, find Defendant’s showroom hours

                                 25                       and locations, book in-person or virtual appointments, or complete any

                                 26                       purchases. ;

                                 27                  b. Empty Links that contain No Text causing the function or purpose of the link

                                 28                       to not be presented to the user. This can introduce confusion for keyboard and

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                                  1                      screen-reader users;

                                  2                  c. Redundant Links where adjacent links go to the same URL address which

                                  3                      results in additional navigation and repetition for keyboard and screen-reader

                                  4                      users; and

                                  5                  d. Linked Images missing alt-text, which causes problems if an image within a

                                  6                      link does not contain any descriptive text and that image does not have alt-text.
                                                         A screen reader then has no content to present the user as to the function of the
                                  7
                                                         link, including information or links for and contained in PDFs.
                                  8
                                             28.     Recently in 2020, Plaintiff attempted to do business with Defendant on
                                  9
                                      Defendant’s    website.    Plaintiff      has   visited   prior   iterations   of    the   website,
                                 10
                                      https://www.dzineliving.com/, and also encountered barriers to access on Defendant’s website.
                                 11
                                             29.     Despite past and recent attempts to do business with Defendant on its website, the
                                 12
                                      numerous access barriers contained on the website and encountered by Plaintiff, has denied
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                                 13
                                      Plaintiff full and equal access to Defendant’s website. Plaintiff and Class Members, as a result
                                 14
                                      of the barriers on Defendant’s website, continue to be deterred on a regular basis from accessing
                                 15
                                      Defendant’s website. Likewise, based on the numerous access barriers Plaintiff and Class
                                 16
                                      Members have been deterred and impeded from the full and equal enjoyment of goods and
                                 17   services offered in Defendant’s showroom and from making purchases at such physical locations.
                                 18                             Defendant Must Remove Barriers to Its Website
                                 19          30.     Due to the inaccessibility of the Defendant’s website, blind and visually-impaired
                                 20   customers such as the Plaintiff who need screen-readers, cannot fully and equally use or enjoy
                                 21   the facilities and services the Defendant offers to the public on its website. The access barriers
                                 22   the Plaintiff has encountered have caused a denial of Plaintiff’s full and equal access in the past
                                 23   and now deter Plaintiff on a regular basis from accessing the website.
                                 24          31.     These access barriers on Defendant’s website have deterred Plaintiff from visiting

                                 25   Defendant’s physical locations and enjoying them equal to sighted individuals because: Plaintiff

                                 26   was unable to find the location and hours of operation of Defendant’s locations on its website, as

                                 27   a result Plaintiff is prevented from visiting the locations, and is unable to view and purchase

                                 28   products and/or services. Plaintiff and Class Members intend to visit the Defendant’s locations

                                                                                        9
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                                  1    in the near future if Plaintiff and Class Members could access Defendant’s website.

                                  2           32.     If the website was equally accessible to all, Plaintiff and Class Members could

                                  3    independently navigate the website and complete a desired transaction, as sighted individuals do.

                                  4           33.     Plaintiff, through Plaintiff’s attempts to use the website, has actual knowledge of

                                  5    the access barriers that make these services inaccessible and independently unusable by blind and

                                  6    visually-impaired people.
                                              34.     Because simple compliance with WCAG 2.0/WCAG 2.1 would provide Plaintiff
                                  7
                                       and Class Members who are visually-impaired consumers with equal access to the website,
                                  8
                                       Plaintiff and Class Members allege that Defendant engaged in acts of intentional discrimination,
                                  9
                                       including, but not limited to, the following policies or practices: constructing and maintaining a
                                 10
                                       website that is inaccessible to visually-impaired individuals, including Plaintiff and Class
                                 11
                                       Members; failing to construct and maintain a website that is sufficiently intuitive so as to be
                                 12
                                       equally accessible to visually-impaired individuals, including Plaintiff and Class Members; and
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                                 13
                                       failing to take actions to correct these access barriers in the face of substantial harm and
                                 14
                                       discrimination to blind and visually-impaired consumers, such as Plaintiff and Class Members,
                                 15
                                       as a member of a protected class.
                                 16
                                              35.     The Defendant uses standards, criteria or methods of administration that have the
                                 17    effect of discriminating or perpetuating the discrimination against others, as alleged herein.
                                 18           36.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this
                                 19    action. In relevant part, the ADA requires:
                                 20           In the case of violations of … this title, injunctive relief shall include an order to
                                              alter facilities to make such facilities readily accessible to and usable by
                                 21           individuals with disabilities …. Where appropriate, injunctive relief shall also
                                 22           include requiring the … modification of a policy …. 42 U.S.C. § 12188(a)(2).

                                 23           37.     Because Defendant’s website has never been equally accessible, and because

                                 24    Defendant lacks a corporate policy that is reasonably calculated to cause the Defendant’s website

                                 25    to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a

                                 26    permanent injunction requiring the Defendant to retain a qualified consultant acceptable to

                                 27    Plaintiff to assist Defendant to comply with WCAG 2.0/WCAG 2.1 guidelines for Defendant’s
                                       website. The website must be accessible for individuals with disabilities who use desktop
                                 28
                                                                                        10
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                                  1    computers, laptops, tablets, and smartphones.        Plaintiff and Class Members seek that this

                                  2    permanent injunction require Defendant to cooperate with the agreed-upon consultant to: train

                                  3    Defendant’s employees and agents who develop the website on accessibility compliance under

                                  4    the WCAG 2.0/WCAG 2.1 guidelines; regularly check the accessibility of the website under the

                                  5    WCAG 2.0/WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-impaired

                                  6    persons to ensure that the Defendant’s website complies under the WCAG 2.0/WCAG 2.1
                                       guidelines; and develop an accessibility policy that is clearly disclosed on the Defendant’s
                                  7
                                       website, with contact information for users to report accessibility-related problems and require
                                  8
                                       that any third-party vendors who participate on the Defendant’s website to be fully accessible to
                                  9
                                       the disabled by conforming with WCAG 2.0/WCAG 2.1.
                                 10
                                               37.    If Defendant’s website were accessible, Plaintiff and Class Members could
                                 11
                                       independently access information about store locations, hours, services offered, and services
                                 12
                                       available for online purchase.
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                                 13
                                               38.    Although Defendant may currently have centralized policies regarding operating
                                 14
                                       and maintaining Defendant’s website, Defendant lacks a plan and policy reasonably calculated to
                                 15
                                       make Defendant’s website fully and equally accessible to, and independently usable by, blind and
                                 16
                                       other visually-impaired consumers.
                                 17           39.     Defendant has, upon information and belief, invested substantial sums in
                                 18    developing and maintaining Defendant’s website to which Defendant has generated significant
                                 19    revenue from Defendant’s website. These amounts are far greater than the associated cost of
                                 20    making Defendant’s website equally accessible to visually impaired customers. Plaintiff has also
                                 21    visited prior iterations of the Defendant’s website, https://www.dzineliving.com/, and also
                                 22    encountered such barriers.
                                 23           40.     Without injunctive relief, Plaintiff and Class Members will continue to be unable
                                 24    to independently use Defendant’s website, violating their rights.

                                 25                                  CLASS ACTION ALLEGATIONS

                                 26            41.    Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a

                                 27    nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the Nationwide class is initially

                                 28    defined as follows:

                                                                                       11
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                                              all legally blind individuals who have attempted to access Defendant’s website by
                                  1           the use of a screen reading software during the applicable limitations period up to
                                  2           and including final judgment in this action.

                                  3           42.     The California class is initially defined as follows:

                                  4           all legally blind individuals in the State of California who have attempted to access
                                              Defendant’s website by the use of a screen reading software during the applicable
                                  5           limitations period up to and including final judgment in this action.

                                  6           43.     Excluded from each of the above Classes is Defendant, including any entity in
                                  7    which Defendant has a controlling interest, is a parent or subsidiary, or which is controlled by
                                  8    Defendant, as well as the officers, directors, affiliates, legal representatives, heirs, predecessors,
                                  9    successors, and assigns of Defendant. Also excluded are the judge and the court personnel in this
                                 10    case and any members of their immediate families. Plaintiff reserves the right to amend the Class

                                 11    definitions if discovery and further investigation reveal that the Classes should be expanded or

                                 12    otherwise modified.
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                                              44.     Numerosity. Fed. R. Civ. P. 23(a)(1). This action has been brought and may
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                                 13
                                 14    properly be maintained as a class action against Defendant under Rules 23(b)(1)(B) and 23(b)(3)
                                       of the Federal Rules of Civil Procedure. While the exact number and identities of other Class
                                 15
                                       Members are unknown to Plaintiff at this time, Plaintiff is informed and believes that there are
                                 16
                                       hundreds of thousands of Members in the Class. Based on the number of customers who have
                                 17
                                       visited Defendant’s California store, it is estimated that the Class is composed of more than
                                 18
                                       10,000 persons. Furthermore, even if subclasses need to be created for these consumers, it is
                                 19
                                       estimated that each subclass would have thousands of Members. The Members of the Class are
                                 20
                                       so numerous that joinder of all Members is impracticable and the disposition of their claims in a
                                 21
                                       class action rather than in individual actions will benefit the parties and the courts.
                                 22
                                              45.     Typicality: Plaintiff and Class Members’ claims are typical of the claims of the
                                 23
                                       Members of the Class as all Members of the Class are similarly affected by Defendant’s wrongful
                                 24
                                       conduct, as detailed herein.
                                 25
                                              46.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Members
                                 26    of the Class in that they have no interests antagonistic to those of the other Members of the Class.
                                 27    Plaintiff has retained experienced and competent counsel.
                                 28           47.     Superiority: A class action is superior to other available methods for the fair and
                                                                                         12
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                                  1    efficient adjudication of this controversy. Since the damages sustained by individual Class

                                  2    Members may be relatively small the expense and burden of individual litigation makes it

                                  3    impracticable for the Members of the Class to individually seek redress for the wrongful conduct

                                  4    alleged herein. Furthermore, the adjudication of this controversy through a class action will avoid

                                  5    the potentially inconsistent and conflicting adjudications of the claims asserted herein. There will

                                  6    be no difficulty in the management of this action as a class action. If Class treatment of these
                                       claims were not available, Defendant would likely unfairly receive thousands of dollars or more
                                  7
                                       in improper revenue.
                                  8
                                              48.     Common Questions Predominate: Common questions of law and fact exist as to
                                  9
                                       all Members of the Class and predominate over any questions solely affecting individual
                                 10
                                       Members of the Class. Among the common questions of law and fact applicable to the Class are:
                                 11
                                                          i. Whether      Defendant’s      website,   https://www.   dzineliving.com/,   is
                                 12
                                                              inaccessible to the visually-impaired who use screen reading software to
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                                 13
                                                              access internet websites;
                                 14
                                                          ii. Whether Plaintiff and Class Members have been unable to access
                                 15
                                                              https://www. dzineliving.com/ through the use of screen reading software;
                                 16
                                                         iii. Whether the deficiencies in Defendant’s website violate the Americans
                                 17                           with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq.;
                                 18                      iv. Whether the deficiencies in Defendant’s website violate the California
                                 19                           Unruh Civil Rights Act, California Civil Code § 51 et seq.;
                                 20                       v. Whether, and to what extent, injunctive relief should be imposed on
                                 21                           Defendant to make https://www. dzineliving.com/ readily accessible to and
                                 22                           usable by visually-impaired individuals;
                                 23                      vi. Whether Plaintiff and Class Members are entitled to recover statutory
                                 24                           damages with respect to Defendant’s wrongful conduct; and

                                 25                     vii. Whether further legal and/or equitable relief should be granted by the Court

                                 26                           in this action.

                                 27           49.     The class is readily definable, and prosecution of this action as a Class action will

                                 28    reduce the possibility of repetitious litigation. Plaintiff knows of no difficulty which will be

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                                  1    encountered in the management of this litigation which would preclude their maintenance of this

                                  2    matter as a Class action.

                                  3           50.       The prerequisites to maintaining a class action for injunctive relief or equitable

                                  4    relief pursuant to Rule 23(b)(2) are met as Defendant has acted or refused to act on grounds

                                  5    generally applicable to the Class. Thereby, making appropriate final injunctive or equitable relief

                                  6    with respect to the Class as a whole.
                                              51.       The prerequisites to maintaining a class action for injunctive relief or equitable
                                  7
                                       relief pursuant to Rule 23(b)(3) are met as questions of law or fact common to the Class
                                  8
                                       predominate over any questions affecting only individual Members and a class action is superior
                                  9
                                       to other available methods for fairly and efficiently adjudicating the controversy.
                                 10
                                              52.       The prosecution of separate actions by Members of the Class would create a risk
                                 11
                                       of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.
                                 12
                                       Additionally, individual actions may be dispositive of the interest of all Members of the Class,
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                                 13
                                       although certain Class Members are not parties to such actions.
                                 14
                                              53.       Defendant’s conduct is generally applicable to the Class as a whole and Plaintiff
                                 15
                                       seek, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s
                                 16
                                       systematic policies and practices make declaratory relief with respect to the Class as a whole
                                 17    appropriate.
                                 18                                                 COUNT I
                                 19            Violations of the Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.
                                 20                   (On Behalf of Plaintiff, the Nationwide Class and the California Class)
                                 21           54.       Plaintiff alleges and incorporates herein by reference each and every allegation
                                 22    contained in paragraphs 1 through 53, inclusive, of this Complaint as if set forth fully herein.
                                 23           55.       Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq., provides: “No
                                 24    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

                                 25    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

                                 26    accommodation by any person who owns, leases (or leases to), or operates a place of public

                                 27    accommodation” 42 U.S.C. § 12182(a).

                                 28           56.       Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

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                                  1    includes, among other things: “a failure to make reasonable modifications in policies, practices,

                                  2    or procedures, when such modifications are necessary to afford such goods, services, facilities,

                                  3    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

                                  4    demonstrate that making such modifications would fundamentally alter the nature of such goods,

                                  5    services, facilities, privileges, advantages or accommodations” and “a failure to take such steps

                                  6    as may be necessary to ensure that no individual with a disability is excluded, denied services,
                                       segregated, or otherwise treated differently than other individuals because of the absence of
                                  7
                                       auxiliary aids and services, unless the entity can demonstrate that taking such steps would
                                  8
                                       fundamentally alter the nature of the good, service, facility, privilege, advantage, or
                                  9
                                       accommodation being offered or would result in an undue burden” 42 U.S.C. §
                                 10
                                       12182(b)(2)(A)(ii)-(iii). “A public accommodation shall take those steps that may be necessary
                                 11
                                       to ensure that no individual with a disability is excluded, denied services, segregated, or otherwise
                                 12
                                       treated differently than other individuals because of the absence of auxiliary aids and services,
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                                 13
                                       unless the public accommodation can demonstrate that taking those steps would fundamentally
                                 14
                                       alter the nature of the goods, services, facilities, privileges, advantages, or accommodations being
                                 15
                                       offered or would result in an undue burden, i.e., significant difficulty or expense” 28 C.F.R. §
                                 16
                                       36.303(a). In order to be effective, auxiliary aids and services must be provided in accessible
                                 17    formats, in a timely manner, and in such a way as to protect the privacy and independence of the
                                 18    individual with a disability” 28 C.F.R. § 36.303(c)(1)(ii).
                                 19           57.     Defendant’s store location is a “public accommodation” within the meaning of 42
                                 20    U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from the sale of its
                                 21    amenities and services, privileges, advantages, and accommodations in California through its
                                 22    locations, related services, privileges, advantages, and accommodations.              The website,
                                 23    https://www. dzineliving.com/, is a service, privilege, advantage, and accommodation provided
                                 24    by Defendant that is inaccessible to customers who are visually-impaired like Plaintiff. This

                                 25    inaccessibility denies visually-impaired customers full and equal enjoyment of and access to the

                                 26    facilities and services, privileges, advantages, and accommodations that Defendant made

                                 27    available to the non-disabled public. Defendant is violating the Americans with Disabilities Act,

                                 28    42 U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the services,

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                                  1    privileges, advantages, and accommodations provided by https://www. dzineliving.com/. These

                                  2    violations are ongoing.

                                  3           58.        Defendant’s actions constitute intentional discrimination against Plaintiff and

                                  4    Class Members on the basis of a disability in violation of the Americans with Disabilities Act, 42

                                  5    U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is inaccessible to Plaintiff

                                  6    and Class Members, maintains the website in this inaccessible form, and has failed to take
                                       adequate actions to correct these barriers even after being notified of the discrimination that such
                                  7
                                       barriers cause.
                                  8
                                              59.        Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth
                                  9
                                       and incorporated therein, Plaintiff requests relief as set forth below.
                                 10
                                                                                   COUNT II
                                 11
                                                Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.
                                 12
                                                                 (On Behalf of Plaintiff and the California Class)
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                                 13
                                              60.        Plaintiff alleges and incorporates herein by reference each and every allegation
                                 14
                                       contained in paragraphs 1 through 59, inclusive, of this Complaint as if set forth fully herein.
                                 15
                                              61.        Defendant’s locations are “business establishments” within the meaning of the
                                 16
                                       California Civil Code § 51 et seq. Defendant generates millions of dollars in revenue from the
                                 17    sale of its services in California through its store location and related services, and https://www.
                                 18    dzineliving.com/ is a service provided by Defendant that is inaccessible to customers who are
                                 19    visually-impaired like Plaintiff and Class Members. This inaccessibility denies visually-impaired
                                 20    customers full and equal access to Defendant’s facilities and services that Defendant makes
                                 21    available to the non-disabled public.      Defendant is violating the Unruh Civil Rights Act,
                                 22    California Civil Code § 51 et seq., in that Defendant is denying visually-impaired customers the
                                 23    services provided by https://www. dzineliving.com/. These violations are ongoing.
                                 24           62.        Defendant’s actions constitute intentional discrimination against Plaintiff and

                                 25    Class Members on the basis of a disability in violation of the Unruh Civil Rights Act, Cal. Civil

                                 26    Code § 51 et seq. in that: Defendant has constructed a website that is inaccessible to Plaintiff and

                                 27    Class Members, maintains the website in this inaccessible form, and has failed to take adequate

                                 28    ///
                                                                                        16
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                                  1    actions to correct these barriers even after being notified of the discrimination that such barriers

                                  2    cause.

                                  3             63.   Defendant is also violating the Unruh Civil Rights Act, California Civil Code § 51

                                  4    et seq. in that the conduct alleged herein likewise constitutes a violation of various provisions of

                                  5    the ADA, 42 U.S.C. § 12101 et seq. Section 51(f) of the California Civil Code provides that a

                                  6    violation of the right of any individual under the ADA shall also constitute a violation of the
                                       Unruh Civil Rights Act.
                                  7
                                                64.   The actions of Defendant were and are in violation of the Unruh Civil Rights Act,
                                  8
                                       California Civil Code § 51 et seq., and, therefore, Plaintiff and Class Members are entitled to
                                  9
                                       injunctive relief remedying the discrimination.
                                 10
                                                65.   Plaintiff and Class Members are also entitled to statutory minimum damages
                                 11
                                       pursuant to California Civil Code § 52 for each and every offense.
                                 12
                                                66.   Plaintiff and Class Members are also entitled to reasonable attorneys’ fees and
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                                 13
                                       costs.
                                 14
                                                67.   Plaintiff and Class Members are also entitled to a preliminary and permanent
                                 15
                                       injunction enjoining Defendant from violating the Unruh Civil Rights Act, California Civil Code
                                 16
                                       § 51 et seq., and requiring Defendant to take the steps necessary to make https://www.
                                 17    dzineliving.com/ readily accessible to and usable by visually-impaired individuals.
                                 18                                        PRAYER FOR RELIEF
                                 19             WHEREFORE, Plaintiff, individually and on behalf of all Class Members, respectfully
                                 20    requests that the Court enter judgment in her favor and against Defendant as follows:
                                 21             A.    For an Order certifying the Nationwide Class and California Class as defined
                                 22                   herein and appointing Plaintiff and her Counsel to represent the Nationwide Class
                                 23                   and the California Class;
                                 24             B.    A preliminary and permanent injunction pursuant to 42 U.S.C. § 12188(a)(1) and

                                 25                   (2) and section 52.1 of the California Civil Code enjoining Defendant from

                                 26                   violating the Unruh Civil Rights Act and ADA and requiring Defendant to take

                                 27                   the steps necessary to make https://www. dzineliving.com/ readily accessible to

                                 28                   and usable by visually-impaired individuals;

                                                                                         17
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                                  1            C.      An award of statutory minimum damages of $4,000 per offense per person

                                  2                    pursuant to section 52(a) of the California Civil Code.

                                  3            D.      For attorneys’ fees and expenses pursuant to California Civil Code §§ 52(a),

                                  4                    52.1(h), and 42 U.S.C. § 12205;

                                  5            E.      For pre-judgment interest to the extent permitted by law;

                                  6            F.      For costs of suit; and
                                               G.      For such other and further relief as the Court deems just and proper.
                                  7
                                                                        DEMAND FOR JURY TRIAL
                                  8
                                               Plaintiff, on behalf of herself and all others similarly situated, hereby demands a jury trial
                                  9
                                       for all claims so triable.
                                 10
                                 11
                                       Dated: October 13, 2020                                Respectfully Submitted,
                                 12
                                                                                              /s/ Thiago M. Coelho
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                                 13
                                                                                              Thiago M. Coelho
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                                                                                              WILSHIRE LAW FIRM
                                 15                                                           Attorney for Plaintiff and Proposed Class
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